                Case 2:22-cv-00929-TSZ Document 1 Filed 07/05/22 Page 1 of 3



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 7                                IN THE UNITED STATES DISTRICT COURT

 8                           FOR THE WESTERN DISTRICT OF WASHINGTON

 9                                                    AT SEATTLE

10   KATINA RUH and GORDON RUH,
     individually and as a martial community,                      No. 2:22-cv-00929
11
                                                                   NOTICE OF REMOVAL
12                                       Plaintiff,

13                     vs.

14   SAFEWAY, INC., a Delaware Corporation,

15                                       Defendant.

16

17            Please take notice that Defendant Safeway Inc. hereby removes to the United

18   States District Court for the Western District of Washington the action described below.

19   On May 9, 2022, Defendant Safeway Inc. was served with a summons (Attachment 1)

20   and complaint (Attachment 2) in an action entitled Katina Ruh and Gordon Ruh v.

21   Safeway, Inc., King County Superior Court No. 22-2-06567-2 SEA. The first date upon

22   which Safeway Inc. received a copy of this complaint was May 9, 2022.

23            The complaint does not specify the amount of damages being claimed by the

24   Plaintiffs. On May 16, 2022, Safeway propounded a request for a statement of damages,

25   interrogatories and requests for production which asked Plaintiffs to disclose specific

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 1   information about the injuries and damages Plaintiffs are claiming in this matter, including

 2   the amounts claimed. On June 16, 2022, Plaintiffs provided discovery responses which

 3   disclosed that Plaintiff are claiming more than $70,000 in past medical expenses and

 4   which indicated that the total amount Plaintiffs are claiming is more than $75,000. On

 5   June 29, 2022, Plaintiff provided a statement of damages identifying additional damages

 6   claimed and total claimed damages exceeding $678,000.

 7            There is complete diversity because the Plaintiffs are resident of the State of

 8   Washington and Defendant Safeway Inc. is a corporation organized under the laws to the

 9   State of Delaware with its principle place of business in the State of California.

10            This court has original jurisdiction over this action pursuant to 28 U.S.C. §1332(a)

11   because it is between citizens of different states and the amount in controversy exceeds

12   $75,000. This claim is removable to federal court by the defendant pursuant to 28 U.S.C.

13   §1441 based on diversity jurisdiction.

14                                          INTRADISTRICT ASSIGNMENT

15            The case was filed in King County so LCR 3(e) indicates it will be initially assigned

16   to a Seattle Judge.

17            A civil case cover sheet is attached as Attachment 3.

18            Dated: July 5, 2022.

19                                               TURNER KUGLER LAW, PLLC

20                                               By:     s/ John T. Kugler
                                                    John T. Kugler, WSBA # 19960
21                                                  Attorney for Defendant

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 1                                                CERTIFICATE OF SERVICE

 2           I hereby certify that on July 5, 2022, I electronically filed the foregoing with the Clerk of the Court
     using the CM/ECF system which will send notification of such filing to the following:
 3
                        Attorneys for Plaintiff:
 4                      Michael David Myers
                        Myers & Company, PLLC
 5                      1530 Eastlake Ave. E.
                        Seattle, WA 98102
 6                      mmyers@myers-company.com
 7
     and I hereby certify that I have mailed by United States Postal Service the document to the following non-
 8   CM/ECF participants:

 9                       none

10                                                   s/ John T. Kugler
                                                 JOHN T. KUGLER, WSB #19960
11                                               Attorney for Defendant KCHA
                                                 TURNER KUGLER LAW, PLLC
12                                               6523 California Ave SW #454
                                                 Seattle, WA 98136-1833
13                                               Telephone: (206) 659-0679
                                                 E-mail: john@turnerkuglerlaw.com
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